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     TOMAS MENDOZA
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 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       )       No. 2:13-CR-00095 JAM
                                                     )
11
                                                     )       STIPULATION REGARDING
            Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
12
                                                     )       SPEEDY TRIAL ACT; FINDINGS AND
     v.                                              )       ORDER
13
                                                     )
     TOMAS MENDOZA                                   )
14
                                                     )
                                                     )
15
                                                     )
            Defendant.                               )
16
                                                     )
                                                     )
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18

19                                       STIPULATION
            Plaintiff United States of America, by and through its counsel of record, and the
20

21   defendant, by and through his counsel of record, hereby stipulate as follows:

22          1.      By previous order, this matter was set for status on June 11, 2013.
23
            2.      By this stipulation, the defendant now moves to continue the status conference
24
     until July 16, 2013 at 9:45 a.m., and to exclude time between June 11, 2013, to July 16, 2013,
25
     under Local Code T4. Plaintiff does not oppose this request.
26

27          3.      The parties agree and stipulate, and request that the Court find the following:

28          a.      The government has represented that the discovery associated with this case


                                                         1
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     includes approximately 136 pages of investigative reports, and 15 discs containing audio and
 1

 2   video recordings, and related documents in electronic form. All of this discovery has been either

 3   produced directly to counsel and/or made available for inspection and copying.
 4
            b.      The parties are working on putting a plea agreement in writing. Counsel for the
 5
     defendant desires additional time to consult with his client, to review the current charges, to
 6

 7
     conduct investigation and research related to the charges, to review and copy discovery for this

 8   matter, and to discuss potential resolutions with his client.
 9          c.      Counsel for the defendant believes that failure to grant the above-requested
10
     continuance would deny him the reasonable time necessary for effective preparation, taking into
11
     account the exercise of due diligence.
12

13          d.      The government does not object to the continuance.

14          e.      Based on the above-stated findings, the ends of justice served by continuing the
15
     case as requested outweigh the interest of the public and the defendant in a trial within the
16
     original date prescribed by the Speedy Trial Act.
17
            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
18

19   et seq., within which trial must commence, the time period of June 11, 2013, to July 16, 2013,

20   inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
21
     because it results from a continuance granted by the Court at defendant’s request on the basis of
22
     the Court's finding that the ends of justice served by taking such action outweigh the best interest
23
     of the public and the defendant in a speedy trial.
24

25                  4.      Nothing in this stipulation and order shall preclude a finding that other

26   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
27
     period within which a trial must commence.
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                                                          2
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 2   IT IS SO STIPULATED.

 3   Dated: June 7, 2013                                BENJAMIN WAGNER
                                                        U.S. ATTORNEY
 4

 5                                                by:   /s/ David D. Fischer for
                                                        MICHAEL MCCOY
 6                                                      Assistant U.S. Attorney
 7
                                                        Attorney for Plaintiff

 8
     Dated: June 7, 2013                                /s/ David D. Fischer
 9                                                      DAVID D. FISCHER
10
                                                        Attorney for Defendant
                                                        TOMAS MENDOZA
11

12
                                         ORDER
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     IT IS SO FOUND AND ORDERED this 7th day of June, 2013.
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17
                                           /s/ John A. Mendez________________________
18                                         HON. JOHN A. MENDEZ
                                           UNITED STATES DISTRICT COURT JUDGE
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